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  6

  7                                  UNITED STATES DISTRICT COURT

  8                             CENTRAL DISTRICT OF CALIFORNIA

  9                                                        Case No. 2:21-cv-01717-VAP-AGR
       BRIAN WALSH & EILEEN WALSH,
 10
                                                           NOTICE OF SETTLEMENT
       Plaintiffs,
 11

 12            v.
       AMERICAN RECOVERY SERVICE
 13
       INCORPORATED,
 14
                          Defendant.
 15

 16           PLEASE TAKE NOTICE that BRIAN WALSH & EILEEN WALSH (“Plaintiffs”), hereby

 17   notify the Court that Plaintiffs and Defendant AMERICAN RECOVERY SERVICE

 18   INCORPORATED, have settled all claims between them in this matter and are in the process of
 19
      completing the final closing documents and filing the dismissal. The Parties propose to file a
 20
      dismissal within 60 days of submission of this Notice of Settlement and pray the Court to stay all
 21
      proceedings until that time.
 22
      Date: April 14, 2021                        Respectfully submitted,
 23

 24                                               By: /s/ Nicholas M. Wajda
                                                  Nicholas M. Wajda
 25                                               WAJDA LAW GROUP, APC
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                                                       1
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  1                                    CERTIFICATE OF SERVICE
  2          I hereby certify that I today caused a copy of the foregoing document to be electronically
  3
      filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of record.
  4

  5                                                                s/ Nicholas M. Wajda
                                                                   Nicholas M. Wajda, Esq.
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